                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF OHIO

 PRETERM-CLEVELAND, INC.,                          :
 et al.,                                           :
                                                   :
                   Plaintiffs,                     : Case No. 1:19-cv-00360
                                                   :
                       v.                          : JUDGE MICHAEL R. BARRETT
                                                   :
 OHIO ATTORNEY GENERAL                             :
 DAVE YOST, et al.,                                :
                                                   :
                   Defendants.                     :


       DEFENDANTS’ EMERGENCY MOTION TO DISSOLVE INJUNCTION



       Pursuant to Rule 65(b)(4), Defendant Ohio Attorney General Dave Yost Ohio hereby

moves this Court to immediately dissolve the preliminary injunction entered on July 3, 2019 in

this case. The Court’s decision rests entirely on the conclusion that the challenged law, S.B. 23,

violates the right to an abortion recognized in Planned Parenthood of Southeastern Pennsylvania

v. Casey, 505 U.S. 833 (1992) and Roe v. Wade, 410 U.S. 113 (1973). See Preterm-Cleveland v.

Yost, 394 F. Supp. 3d 796 (S.D. Ohio 2019) (order granting preliminary injunction). The Supreme

Court of the United States overruled those cases, holding that there is no constitutional right to an

abortion. See Dobbs v. Jackson Women’s Health Organization, No. 19-13923, slip op. (U.S., June

24, 2022). After Dobbs, abortion laws are subject to the same standard as any other law: rational

basis review. Id. at 77–78. And the law here satisfies that easy-to-meet standard for the same

reason as the Mississippi law at issue in Dobbs: it rationally promotes the State’s legitimate

interest in “protecting the life of the unborn.” See slip op. at 78 (internal quotation marks omitted).
The ruling in Dobbs represents a substantial change in the law, and abrogates the prior legal basis

supporting this Court’s Order enjoining enforcement of the challenged law.

       Because there exists no just reason for delay, Defendants respectfully request this Court

immediately dissolve the preliminary injunction and dismiss this case. Indeed, the State of Ohio

will be irreparably harmed by any delay whatsoever: “Any time a State is enjoined by a court

from effectuating statutes enacted by representatives of its people, it suffers a form of irreparable

injury.” Thompson v. DeWine, 976 F.3d 610, 619 (6th Cir. 2020) (per curiam) (internal quotation

marks omitted; alteration accepted).
Respectfully submitted,

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Counsel for Defendant Ohio Attorney General
                                CERTIFICATE OF SERVICE


       I hereby certify that on June 24, 2022, the foregoing was filed electronically. Notice of

this filing will be sent to all parties for whom counsel has entered an appearance by operation of

the Court’s electronic filing system. Parties may access this filing through the Court’s system. I

further certify that a copy of the foregoing has been served by e-mail or facsimile upon all parties

for whom counsel has not yet entered an appearance.



                                              /s/ Amanda L. Narog
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